The defendant was convicted of robbery. It is contended by him that the trial court erred in admitting certain hearsay evidence, that the district attorney was guilty of misconduct and that the trial court erred in refusing to give certain instructions relative to reasonable doubt.
[1] We are satisfied that there was no reversible error in the admission of evidence. (People v. Hale, 64 Cal.App. 523
[222 P. 148].) Neither was the conduct of the district attorney such as would constitute reversible error. [2] The court, in compliance with section 1096a of the Penal Code, gave an instruction fully setting forth the definition and doctrine of reasonable doubt as contained in section 1096 of the Penal Code. The instructions asked by defendant were merely refinements or elaborations of this definition and doctrine. The refusal to give them was not prejudicial.
Judgment affirmed.
Houser, Acting P.J., and York, J., concurred.